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           EXHIBIT 27
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                                         OAKLAND INTERNATIONAL AIRPORT
                                            MONTHLY ACTIVITY REPORT
                                                CALENDAR YEAR
                                                                  YEAR TO YEAR        CALENDAR YEAR-TO-DATE
                                    SEP 23           SEP 22         INC/DEC         2023        2022      INC/DEC
PASSENGER TOTALS
 ENPLANING                            457,120           512,040        -10.73%      4,177,738        4,129,498     1.17%
 DEPLANING                            456,267           502,810         -9.26%      4,217,420        4,135,117     1.99%
  TOTAL                               913,387         1,014,850        -10.00%      8,395,158        8,264,615     1.58%
LANDED WEIGHTS (M lbs)
 PAX CARRIERS                         559,649           588,839         -4.96%      5,028,369        4,940,812      1.77%
 CARGO CARRIERS                       246,145           295,893        -16.81%      2,416,501        2,697,019    -10.40%
  TOTAL                               805,794           884,732         -8.92%      7,444,870        7,637,831     -2.53%
AIRCRAFT MOVEMENTS                      17,169           16,894         1.63%         164,177          160,696     2.17%
AVIATION FUEL (GALS)
 GENERAL AVIATION                      588,917          788,015        -25.27%      5,733,111        7,000,453    -18.10%
 CONTRACT SALES                      7,200,250        8,447,423        -14.76%     71,374,047       76,218,804     -6.36%
  TOTAL                              7,789,167        9,235,438        -15.66%     77,107,158       83,219,257     -7.34%
AIR MAIL (M lbs)
 MAIL IN                                     141            689        -79.54%          4,972            6,277    -20.79%
 MAIL OUT                                    114            638        -82.13%          4,752            6,471    -26.56%
  TOTAL                                      255          1,327        -80.78%          9,724           12,748    -23.72%
FREIGHT (M lbs)
 FREIGHT IN                             41,544           52,796        -21.31%        396,036          482,527    -17.92%
 FREIGHT OUT                            41,410           50,759        -18.42%        382,959          449,779    -14.86%
  TOTAL                                 82,954          103,555        -19.89%        778,995          932,306    -16.44%
AIR MAIL & FREIGHT (M lbs)
 IN                                     41,685           53,485        -22.06%        401,008          488,804    -17.96%
OUT                                     41,524           51,397        -19.21%        387,711          456,250    -15.02%
  TOTAL                                 83,209          104,882        -20.66%        788,719          945,054    -16.54%
CONCESSIONS
 SHOPS                              1,186,195         1,964,020        -39.60%      15,425,710       16,200,138   -4.78%
 RESTAURANT/BAR                     3,185,018         3,037,273          4.86%      27,114,267       23,524,715   15.26%
  TOTAL REVENUE ($)              $ 4,371,213       $ 5,001,293         -12.60%   $ 42,539,977     $ 39,724,853     7.09%
CAR RENTALS REVENUE ($)          $ 7,703,374       $ 8,836,666         -12.82%   $ 69,075,514     $ 75,333,855     -8.31%
PARKING LOT
 DAILY EXITS                           28,868            30,467         -5.25%        255,581          238,978     6.95%
 PREMIER LOT EXITS                      7,958             7,769          2.43%         72,175           61,765    16.85%
 HOURLY EXITS                          19,925            19,637          1.47%        203,481          185,193     9.88%
 ECONOMY EXITS                        10,540             10,960         -3.83%         92,339           91,068     1.40%
PARKING LOT REVENUE ($)            $3,072,223        $3,104,096         -1.03%    $27,554,815      $25,321,270     8.82%
TNC ACTIVITY
 TNC TRIP COUNT                       129,332          130,380          -0.80%      1,115,284          960,274    16.14%
TOTAL TNC REVENUE ($)                $478,529         $482,406          -0.80%     $4,126,550       $3,553,014    16.14%
BART CONNECTOR RIDERS
 TO AIRPORT                             20,687           34,085        -39.31%        171,489          184,220     -6.91%
 TO BART                                17,443           27,880        -37.44%        145,751          149,215     -2.32%
ROLLING 12 MONTH PASSENGER TOTALS
OCT 1, 2022 THRU SEP 30, 2023                        11,276,772
OCT 1, 2021 THRU SEP 30, 2022                        10,725,374
                                                         5.14%



 Prepared by Port of Oakland Finance Division
